Case 5:22-cv-01283-VKD Document 6 Filed 03/15/22 Page 1of1

AFFIDAVIT OF PROCESS SERVER

United States District Court Northern District of California

Kaliel Gold, PLLC

Vidaurre Felipe, individually, and on behalf of all Attorney: Je“frey D. Kaliel
Plaintiff(s), 1100 15th St., NW, 4th Fl.
Washington DC 20005

others similarly situated

#275706

VS.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Paypal, Inc. |
Defendant(s).

Case Number: 5:22-cv-01283-VKD

Legal documents received by Same Day Process Service, Inc. on 03/08/2022 at 7:10 AM to be served upon Paypal,
Inc., by serving CT Corporation System at 330 North Brand Blvd., #700, Glendale, CA 91203

I, Nicholas Kosearas, swear and affirm that on March 11, 2022 at 9:45 AM, I did the following:

Served Paypal, Inc., by serving CT Corporation System by delivering a conformed copy of the Summons in a Civil
Action (issued on 03/03/2022); Order Setting Initial Case Management Conference and ADR Deadlines;
Statement of Information; Civil Cover Sheet; Class Action Complaint; Consent or Declination to Magistrate
Judge Jurisdiction; Standing Order for Civil Cases; Standing Order for Settlement Conferences; Standing
Order for all Judges of the Northern District of California; Standing Order Re Pretrial Preparation in Civil
Cases to Daisy Montenegro as Intake Specialist & Authorized Agent of Paypal, Inc., by serving CT Corporation
System at 330 North Brand Blvd., #700 , Glendale, CA 91203.

Description of Person Accepting Service:
Sex: Female Age: 30-40 Height: 5ft4in-5ft8in Skin Color: Hispanic Hair Color: Black & Brown

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

Ay —

 

Nicholas Kosearas Internal Job
Process Server 1D:275706
Same Day Process Service, Inc.
1413 K St., NW, 7th Floor

Washington DC 20005 t

(202)-398-4200
info @samedayprocess.com
